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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                      )
                                               )                  8:14CR285
                      Plaintiff,               )
                                               )
       vs.                                     )                   ORDER
                                               )
TAMMY KNIGHT,                                  )
                                               )
                      Defendant.               )

       This matter is before the court on the motion for an extension of time by defendant
Tammy Knight (Knight) (Filing No. 30). Knight seeks until November 24, 2014, in which to file
pretrial motions in accordance with the progression order. Knight has filed an affidavit wherein
she consents to the motion and acknowledges she understands the additional time may be
excludable time for the purposes of the Speedy Trial Act (Filing No. 31). Knight's counsel
represents that government's counsel has no objection to the motion. Upon consideration, the
motion will be granted.


       IT IS ORDERED:
       Defendant Knight's motion for an extension of time (Filing No. 30) is granted. Knight
is given until on or before November 24, 2014, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between October 27, 2014, and
November 24, 2014, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 27th day of October, 2014.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
